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                               UNITED STATES DISTRICT COURT

                               EASTERN DISTRICT OF LOUISIANA

    JULIUS WOLLFARTH             *                         NO. 20-CV-01537
                                 *
    VERSUS                       *                         SECTION: “T-04”
                                 *
    CITY OF NEW ORLEANS; SHAUN   *                         HON. GREG G. GUIDRY
    D. FERGUSON, INDIVIDUALLY,   *
    AND IN HIS OFFICIAL CAPACITY *                         MAG. KAREN W. ROBY
    AS SUPERINTENDENT OF         *
    POLICE; POLICE OFFICER JOHN  *
    DOE 1, AND POLICE OFFICER    *
    JOHN DOE 2                   *
                                 *
     ************************


                                   THE CITY’S STATUS REPORT

        Defendants, the City of New Orleans, Shaun D. Ferguson, and Police Officer John Doe 1

and Police Officer John Doe 2 respectfully submit this status report pursuant to the Court’s October

1, 2020 Scheduling Order. Defendants have provided Plaintiff with a copy of this status report.

Plaintiff has not responded with his recommendations, comments, or additions.

    1. The parties in this litigation are currently:

            a. Plaintiff – Julius Wollfarth;

            b. Defendants

                     i. The City of New Orleans;

                     ii. Superintendent Shaun D. Ferguson;

                    iii. Unknown Police Officers 1 and 2.1




1
  Discovery has not commenced because of an outstanding Motion to Dismiss. However, the City will endeavor to
identify the two unknown police officers.
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2. The Defendants Motion to Dismiss is still pending before this court. Oral argument was

   not requested. The Plaintiff filed an opposition which also requested an opportunity to

   amend. The matter was submitted to the Court on November 11, 2020.

3. The parties have not requested a status conference. The pre-trial conference is scheduled

   for April 21, 2020.    Trial is scheduled for Monday, May 17, 2021 before a jury and is

   estimated to last four (4) days.

4. Plaintiff alleges that the defendant-officers violated his Fourth and Fourteenth Amendment

   rights when he was unreasonably detained without probable cause. During this detention,

   plaintiff alleges that he suffered injuries to his neck and back. Plaintiff brings causes of

   action for violations of his constitutional rights under 42 U.S.C. §1983. He also brings

   causes of action under Louisiana law for the intentional torts of assault and battery and

   vicarious liability.

   The following legal questions are presented: whether the unknown officers’ actions were

   unreasonable as required by the Fourth Amendment; whether the unknown officers and

   Superintendent Ferguson are entitled to qualified immunity; and whether the City of New

   Orleans is subject to Monell liability.

   The state law claims will be addressed at a later date.

5. The parties have not conducted discovery because of the pending Motion to Dismiss.

6. The parties have not engaged in settlement discussions.

                                             Respectfully submitted:
                                             /s/ Darren P. Tyus_____________
                                             DARREN P. TYUS, LSB #30772
                                             ASSISTANT CITY ATTORNEY
                                             CORWIN ST. RAYMOND, LSB #31330
                                             DEPUTY CITY ATTORNEY
                                             CHURITA H. HANSELL, LSB #25694
                                             CHIEF DEPUTY CITY ATTORNEY
Case 2:20-cv-01537-GGG-KWR Document 16 Filed 12/03/20 Page 3 of 3




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                             Superintendent Shaun D. Ferguson, Police Officer
                             John Doe 1, and Police Officer John Doe 2
